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 1                                                    THE HONORABLE JOHN C. COUGHENOUR

 2

 J

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 5

 6

 7                                   LINITED STATES DISTzuCT COURT
                                   V/ESTERN DISTRICT OF WASHINGTON
 I
 9   VERATHON MEDICAL, INC.,                 A                Case   No.   2: 1 6-cv-00280-JCC
     Washington Corporation,
l0                                                            PLAINTIFF VERATHON MEDICAL,
                            Plaintiff,                        INC.'S RESPONSE IN OPPOSITION TO
11                                                            DEFENDANT'S MOTION TO STAY OR
     v.                                                       DISMISS ON THE GROIJND OF
t2                                                            FORUM NON CONVENIENS
     CARESTREAM MEDICAL, LTD, A BC
13   Corporation; and CARESTREAM                              NOTED FOR HEARING: APRIL 26'
     MEDICAL, ULC, a BC Unlimited Liability                   2016
t4   Company, d/b/a CARESTREAM AMERICA,

15                          Defendants

t6            Defendant CAREstream Medical, ULC ("CAREstream")'s Motion to Stay or, in the

l7   Alternative, Dismiss on the Ground of Forum Non Conveniens is an intellectually dishonest

18   motion submitted to delay this case. Plaintiff Verathon Medical, Inc. ("Verathon")
t9   respectfully requests that the Court:

20                 1.   Deny CAREstream's Motion to Stay or, in the Alternative, Dismiss on the
                        Ground of Forum Non Conveniens;
2l                 2.   Order CAREstream to show cause why submission of the instant motion did
22                      not violate Fed R Civ Pro l1(b) and warrant reimbursement by CAREstream
                        to Verathon for the fees Verathon expended to respond to said motion; and
23
                   3.   Schedule     a   Status Conference   for the first available date on the Court's
24                      calendar.

25

26
                                                                                   SCHWABE, WILLIAMSON & WYATT, P.C,
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                              Attornevs at Law
                                                                                        1420 sth Aveñue, Suite 3400
     IN OPPOSITION TO DEFENDANT'S MOTION CASE                                             Seattle, WA 98101-4010
                                                                                         Telephone: 206.622. 17 I 1
     NO.2:16-CV-00280 - 1
     PDX'129642U13666\rDL\1 8026694. I
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 I                                          I.    INTRODUCTION
 2            This case involves a Distribution & Representation Agreement between Verathon and

 J   CAREstream and, most specifically, the Non-Competition clause of that Agreement, which

4    CAREstream admits it is currently violating and which expires on December 31, 2016.In the

 5   Distribution & Representation Agreement, Verathon and CAREstream explicitly agreed the

 6   Agreement would "be governed by, and interpreted in accordance with the laws of the State

 7   of   Washington and the United States             of America"    and that they each "submit                   to the
 8   jurisdiction of the state and federal courts located in Seattle, V/ashington, LJSA."I In other

 9   words, the Agreement contains contractually negotiated venue, jurisdictional, and choice of

10   law terms. CAREstream seeks to evade all three.

1l            Despite the forum and choice            of law   clauses   to which it   agreed, CAREstream

t2   requests that this Court either (1) abstain from hearing this case in "deference" to a Canadian

13   court or (2) dismiss the case on the grounds of forum non conveniens. C{RBstream has

t4   failed to establish that it is entitled to either form of relief. Notably, CAREstream failed to

15   even mention the parties' forum selection or choice of law clauses in its motion, let alone

t6   argue why they should not govern.           It simply ignores these contractual terms.

t7            CAREstream's baseless motion is the latest in a series of stall tactics by CAREstream
                         oorun
18   attempting     to           out the clock" on enforcement of the Non-Competition                              clause.

t9   Accordingly, Verathon respectfully requests that the Court deny CAREstream's motion,

20   order CAREstream to show cause why submission of the instant motion did not violate Fed

2l   R Civ Pro I l(b), and schedule a Status Conference for the earliest possible date so the parties

22   can schedule a date by which to obtain a determination on the merits in this Court.

23                II.      RELEVANT FACTS OMITTED BY CARESTREAM
24            Verathon designs and manufactures medical devices, including GlideScope@ video

25
     I Sprny Decl. Exhibit A at 10.4 (emphasis added).
26                             1[
                                                                                  SCHWABE, WLLIAMSON & WYATT, P.C.
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 I   laryngoscopes and BladderScan@ portable bladder ultrasounds.2 CAREstream distributed

 2   Verathon's GlideScope and BladderScan products for about 15 years, until December 31,

 J   2015.3 The       final year of the business relationship was governed by a 2015 Distribution &
 4   Representation Agreement (hereinafter referred         to as "the Agreement").4 The           Agreement

 5   contained a one-year Non-Competition clause, in effect from January               I to December 31,
 6   20rc.5

 7             A.       The Asreement contains a'Washington choice of law and forum
                        selection clause.
 I
               The Agreement contained a choice of law and forum selection clause that provides as
 9
     follows
10
               10.4 This     Agreement will be governed by, and interpreted in
1l             accordance with the laws of the State of Washington and the United
               States of America. To the extent and in the event the United Nations
t2             Convention on Contracts for The International Sale of Goods could be
               applicable by operation of the laws of the United States of America and of
l3
               the State of Washington, the Parties hereby opt out of the application of
t4             the Convention and any applicable international discovery and service of
               process conventions shall be inapplicable. The Parties agree to submit to
15             the jurisdiction of the state and federal courts located in Seattle'
               Washington, USA.6
t6
t7   Curiously, CAREstream attempted to ignore the above provision in its motion.

l8             B.        6rBritish Columbia Action   I" is not parallel to this action.
t9             Verathon initiated the instant case on February 19,2016.7 Verathon's Complaint for

20
     Injunctive Relief and Damages          in this matter asserts the following claims against
2l
     2
22       Complaint T 3.1.
               3
                   Speny Decl. ![fl 5-6.
23
     o
         Speny Decl. fl t[5-6 and Exhibit A.
24   s
         Sp"try Decl. Exhibit A at lt9.0.
25   6
         Speny Decl. Exhibit A at tl 10.4 (emphasis added).
     7,See
26           Notice of Removal (Dkt #1).
                                                                               SCHWABE, WILLIAMSON & WYATT, P.C.
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                          Attornovs at Law
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                                                                                     Telephono: 206.622.1 71 1
     NO.2:16-CV-00280 - 3
     PD)nr29642U1 3666\FDL\I 802ó694. I
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 1   CAREstream,        all of which arise from CAREstream's breaches of the Agreement: (l)
2    Injunctive relief; (2) Breach         of   contract; (3) Replevin/foreclosure; (4) Violation           of   the

 J   Uniform Trade Secrets Act; (5) Conversion; and (6) Tortious Interference.s Verathon                         has

4    never amended its Complaint.

 5             On February 19,2016, CAREstream commenced a lawsuit against Verathon in the

 6   Supreme Court of British Columbia; CAREstream refers to that case as "British Columbia

 7   Action I."e In British Columbia Action I, CAREstream's Notice of Civil Claim sought the
 I   following relief: "(1) Judgment in the amount of 526,879.01, being the amount of the
 9   Unpaid Commissions and Bonuses; (2) A declaration that the Plaintiff is not in breach of the

10   Non-Competition Clause of the Distribution Agreement;" and interest and costs.l0 British

1t   Columbia Action         I   did not seek any determination by the Canadian court regarding the
t2   enforceability of the Non-Competition clause of the Agreement.ll

l3             Nearly a month later, on March 14,2016, the same day Verathon filed its Motion for

t4   Temporary Restraining Order in this Court, CAREstream filed an Amended Notice of Civil

15   Ctaim in British Columbia Action I.r2 In that Amended Notice, CAREstream revised its

I6   requested relief to look more similar to some of the issues involved in this action.13

l7
18

t9
     8
20    Complaint for Injunctive Relief and Damages (hereinafter "Complaint"), attached to Notice
     of Removal (Dkt #l).
2l   e
         Wilrdott Decl. fl   I   and Exhibit A.
))   to
          Wilsdon Decl. Exhibit A at p. 6.
23   rr
          See id.

24
     12
       Wilsdon Decl. Exhibit B. Mr. Wilsdon's declaration states that the Amended Notice of
     Civil Claim was filed on February 25,2016. That is incorrect; it was filed March 14,2016.
25   See id. Verathon presumes that was a typo in Mr. Wilsdon's declaration.
     t3
26        See Wilsdon Decl.       Exhibit B.
                                                                               *n*o'f,T,ll!1ff'1!$*o"'"
     PLAINTIFFVERATHONMEDICAL,INC.'SRESPONSE
     IN OPPOSITION TO DEFENDANT'S MOTION                        CASE               ..3J"?I'!,i'ii?..,T,5'Î.1''
                                                                                    rdêphone:2066221711
     NO.2:16-CV-00280 -4
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 I              C.      British Columbia Action I has been staved per the request of
                        CAREstream.
 2
                Only one thing has taken place in British Columbia Action             I:   Verathon has filed a
 J
     Jurisdictional Response to the action, stating that Verathon "disputes that this court has
 4
     jurisdiction over this defendant."l4 No substantive answer to the allegations in British
 5
     Columbia Action            I   has been filed.ls No judge has been assigned.r6 No discovery has taken
 6
     place.lT No hearing or trial dates have been set.l8
 7
                On April 20, 2016, CAREstream proposed that the parties agree to a stay of British
 8
     Columbia Action            I    pending this Court's determination of the instant motion.le Verathon
 9
     agreed that British Columbia Action              I   should be held in abeyance at this time.2O Under the
l0
     British Columbia Supreme Court Civil Rules, counsel are empowered to make agreements
11
     such as this without the need                 to obtain a formal court order temporarily staying               the
t2
     proceeding.2l
13
                D.      .(
t4
15              1.      CAREstream's motion attempts to mischaracterize the nature and purpose of

t6   British Columbia Action II. On March 14, 2016, Verathon filed an Application with the

I7   Supreme Court           of British Columbia          seeking an interim injunction against CAREstream

18

t9
20   ra
          Declaration of Shane D. Coblin ("Coblin Decl.") fl 2 and Exhibit A.
     ls
2t        Coblin Decl. !f 2.
     r6
22        rd.
     t7
          rd.
23   l8
          rd.
24   te
          M.nr,
25
     'o   Id.n3   and Exhibit B.

26              " Id.n3 and Exhibit C.                                               SCHWABE, WILLIAMSON & WYATT, P,C.
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                                Attorneys at Law
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     NO. 2:16-CV-00280 - 5
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pending the outcome of this case.2' The Application was brought as a stand-alone proceeding

and, as such, was assigned its own cause number.23 The Application was not brought as part

of British Columbia Action I; the Application was not a cross-complaint or cross-claim to
British Columbia Action                     I.2a   The common law in British Columbia provides a mechanism

whereby a stand-alone Application can be brought before the British Columbia Supreme

Court seeking interim injunctive relief in support of a matter that is proceeding before

another court or tribunal.2s The purpose of Verathon's Application was not "a bid to hedge

its bets" as CAREstream's counsel suggests; the Application was intended to obtain interim

injunctive relief undisputedly enforceable in British Columbia pending the frnal outcome of

this case.26

          When this Court denied Verathon's motion                         for a   temporary restraining order,

Verathon elected to voluntarily dismiss its Application for an interim injunction in British

Columbia Action II.27 Contrary to what has been asserted in CAREstream's motion, the

Application for an interim injunction was                      4!   dismissed by the Supreme Court of British

Columbia following a hearing on its merits. There was no such hearing. The parties entered

into a consent order agreeing to dismiss the application.2s There was no determination or
judgment on the merits whatsoever.2e The voluntary dismissal of Verathon's Application was




22
     Wilsdon Decl. Exhibit C.

          '3 Coblitt Decl. fl 7.
          24
               M.n1rt.
          2t
               M.nB.
26
     M.n9.
2t
     Coblitt Decl. fl 10.
          zB
               Id.
2e
   Id. See ø/so Wilsdon Decl. Exhibit D at fl 2 ("This dismissal will not create a res judicata
in the event that the Plaintiff applies for an injunction at a later date . . . '")
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akin to withdrawing a pending motion, or a voluntary nonsuit.30

                          III.       ARGUMENT AND AUTHORITY

          A.      CAREstream asreed to iurisdiction and venue in \ryashinston.
          CAREstream voluntarily and knowingly submitted itself to the laws and jurisdiction

of    Washington when         it entered into the Agreement. Again, the Agreement explicitly
provided that     it "will   be governed by, and interpreted in accordance with the laws of the

State of Washington and the United States of America" and "The Parties agree to submit to

the   jurisdiction of the state and federal courts located in Seattle, Washington, LJSA."3I

          The Ninth Circuit has recognizedthat "forum selection clauses are increasingly used

in international business. When included in freely negotiated commercial contracts, they
enhance certainty, allow parties         to   choose the regulation   of their contract, and enable
                                                                                     ooForum-selection
transaction costs      to be reflected accurately in the transaction     price."32

clauses are prima facie valid and should be enforced unless enforcement is shown by the

resisting party to be unreasonable under the circumstances."33 CAREstream did not argue

that the forum selection clause in the Agreement is unreasonable under the circumstances.

Nor could CAREstream make such a showing. A forum selection clause is unreasonable only

if: "(l) its incorporation into the contract was the result of fraud, undue influence, or
overweening bargaining power;            (2) the    selected forum    is so gravely difficult      and

inconvenient that the complaining party will for all practical purposes be deprived of its day

in court; or (3) enforcement of the clause would contravene a strong public policy of the



30
     Se, Coblin Decl. fl 10.
3t
      Sp"rry Decl. Exhibit A at $10.4.
32
     E. & J. Galto Winery v. Andina Licores 5.A.,446 F.3d 984, 992 (gth Cir. 2006).
33
   Hoiland Am. v. Wartsila N. Am.,Iec., No. C04-1368RSM,2004 U.S' Dist. LEXIS 28477,
at *8 (V/.D. Wash. Dec. 9, 2004).
PLAINTIFFVERATHONMEDICAL, INC.'S RESPONSE "'*o'f-!,!*1il"'l!s*o"'"
rN opposrTloN To DEFENDANT',S MOTION                      CASE
                                              'tiil,3i,i_i_?id1'li'it"
                                                rersphonê:206622.711
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 1   forum in which the suit is broueht."34 CAREstream has not, and cannot, put forth evidence to

 2   establish any of these scenarios. Accordingly, the forum selection clause in the Agreement is

 J   prima facie valid and must be enforced.

 4              In its motion, CAREstream completely                      omitted and ignored the fact that the

 5   Agreement contains a Washington choice of law and forum selection clause. CAREstream's

 6   motion relies instead only on cases where no such clause was in play. Accordingly, the case

 7   law principles CAREstream cites are inapposite to the actual circumstances here. Contrary to

 8   CAREstream's argument, cases that actually involve a choice of law and/or forum selection

 9   clause support denial                    of       CAREstream's motion. Accordingly, the motion       is not well
t0   grounded or well-taken. It appears to be dishonest intellectually.

l1              For example, in E. & J. Gallo Ilinery v. Andina Licores 5.A., the Ninth Circuit
t2   declined to extend comity to a foreign action instituted solely                   in an effort to "evade          the

13   enforcement of an otherwise valid forum selection clause," explaining:

I4              In a situation like this one, where private parties have previously agreed to
                litigate their disputes in a certain forum. one party's filing first in a
15              different forum would not implicate comity at all. No public international
                issue is raised in this case. There is no indication that the government of
t6              Ecuador is involved in the litigation. Andina is a private party in a
t7              contractual dispute with Gallo, another private party.The case before us
                deals with enforcing a contract and giving effect to substantive rights. This
18              in no way breaches nolms of comity. Under the reasoning of the district
                court, any party seeking to evade the enforcement of an otherwise-valid
t9              forum selection clause need only rush to another forum and file suit. Not
                only would this approach vitiate United States policy favoring the
20
                enforcement of forum selection clauses, but it could also have serious
                                                              35
2l              deleterious effects for international comity.

22   Likewise, courts in this circuit have held that "[i]f the parties have selected laws mandating                         a

23   particular venue, the law chosen dictates the forum and the doctrine of forum non conveniens

24

25   34
          Id.
     3s
26        446 F.3d at 994 (emphasis added)
                                                                                        SCHWABE, WILLIAMSON & WYAfi, P.C.
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 I   is inapplicable."36

2              "[A] valid forum-selection   clause should be given controlling weight in all but the

 J   most exceptional cases."37 This is not an exceptional case. Nor does CAREstream suggest,

 4   let alone establish, anything making these facts an exception to the general rule. The parties'

 5   choice of law and forum selection clauses in the Agreement should control. Accordingly,

 6   CAREstream's motion should be denied.

 7             B.                                         blish th
 I                                              oothere
               CAREstream argues that where               is a parallel proceeding in a foreign country, a
 9
     federal district court can decline to exercise jurisdiction pending the outcome of the foreign
10
     proceeding."3s CAREstream has failed to establish British Columbia Action I and this action
11
     are parallel, or that the circumstances of this case are sufficiently exceptional to justify
t2
     invocation of the narrowly construed abstention doctrine.
13
                       l.                    15 nO
14

l5             As CAREstream admits, the international abstention doctrine only applies when the
                                                              o'When
t6   foreign action is parallel to the District Court action.        there is substantial doubt as to

t7   whether the foreign proceeding     will   resolve the federal action, there is no need to even

18   undertake thle] Cotorado River multifactor analysis."3e As the United States Supreme Court

19   has put   it
20

     36
2T      Magellan Real Estate Inv. Tr. v. Losch, 109 F. Supp. 2d 1144, 1149 (D. Ariz. 2000)
     (denying motion to dismiss on grounds of forum non conveniens).
22
     37
       Lavrra Skin Care N. Am., Inc. v. Laverana GmbH & Co. KG, No. 2:13'cv-0231I-RSM,
23   2014 U.S. Dist. LEXIS 176327, at *ll (W.D.V/ash. Dec. 19, 2014) (citing Atlantic Marine
     Const. Co. v. U.S. Dist. Court,134 S.Ct. 568,579 (2013).
24
     38
          CAREstream's Motion at7:15-17.
25   3e
       Putt v. Golden,2012 U.S. Dist. LEXIS 91506 (V/.D. Wash. July 2,2012) (citing Intel
26   Corp. v. Advanced Micro Devices, Inc.,12 F.3d 908, 913 n. 7 (9rh Cir. 1993))'
                                               *'*ouf-lL'#åV,'1!$*o"
     PLAINTIFFVERATHONMEDICAL, INC.'S RESPONSE                                                       "
     IN OPPOSITION TO DEFENDANT'S MOTION CASE      "33"?1,:,i'ii?,"Tli'?'1"
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 I             When a district court decides to dismiss or stay under Colorado River, it
               presumably concludes that the parallel [] litigation will be an adequate
 2
               vehicle for the complete and prompt resolution of the issues between the
 J
               parties. If there is any substantial doubt as to this, it.would be a serious
               ãbnr. of discretion to grant the stay or dismissal at all.a0
 4
      "Thus, 'the existence of a substantial doubt as to whether þroceedings in another forum] will
 5
      resolve the federal action precludes the granting of a stay."'41
 6
               This action and British Columbia Action             I   are not parallel. There is no action for
 7
      injunctive relief pending in Canada. In this action, Verathon has sued CAREstream for (1)
 I
      Injunctive relief; (2) Breach          of   contract; (3) Replevin/foreclosure; (4) Violation            of   the
 9
      Uniform Trade Secrets Act; (5) Conversion; and (6) Tortious Interference.o' In British
10
      Columbia Action I, CAREstream sought (1)             a   judgment in the amount of $26,879.01 and (2)
11
      a declaration that CAREstream is not in breach of the Non-Competition clause of                               the
t2
      Agreement.a3 Both of those could be asserted as permissive counterclaims in this action. The
l3
      fact that CAREstream has subsequently amended its claims in British Columbia Action I in
l4
      order to make that action look more similar to some of the issues in this action does not make
l5
      the two actions parallel. They simply are not.
l6
                The Canadian action          will not resolve all of the claims     and issues in this action.
1,7
      Therefore, the Court need not even reach the Colorado River analysis to deny CAREstream's
l8
      motion to stay.aa CAREstream's request for a stay should be denied.
t9
20    a0
           Moses   H. Cone Mem'l Hosp. v. Mercury Constr. Corp.,460 U'S. 1,28 (1983).
2t    4t
         Prtr,20l2 U.S. Dist. LEXIS 91506 *36 (quotingIntel,l2F.3datgl3).
      a'
22       Sre Complaint (Dkt #l).
      a3
23         Wilsdon Decl. Exhibit A at p. 6.
      44   prtr,2gl2U.S. Dist. LEXIS 91506 at*36; See also Ekland v. Marketing Co. of Cal., Inc.
24    v. Lopez,2007 U.S. Dist. LEXIS 57749 at *4 (E,D. Cal. Aug. 8,2007) (denying motion to
      stay proceedings pursuant to international abstention doctrine pending outcome of Spanish
25
      proceedings where contracts at issue in the two matters were different, and the complaint in
26    federal court also alleged tort claims not at issue in the Spanish proceedings).
                                                                                     SCHWABE, WILLIAMSON & WYATT, P,C.
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      NO. 2:16-CV-00280 - l0
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 1                      2         Even if British Columbia Action I was a parallel proceeding
                                  (which it is not). CAREstream has failed to demonstrate that
 2                                the circumstances of this case are sufficiently exceptional to
                                  call for application of the nanowly applied international
 J                                abstention doctrine.

 4            Abstention "is an extraordinary and narrow exception to the duty of a District Court
                                                                                   o'is
 5   to adjudicate a controversy properly before it."45 In other words, abstention      the exception,

 6   not the ru1e."46 The "mere potential tbr conflict in the results of'adjudications, does not,

 7   without more, warrant staying exercise of federal jurisdiction ."47 To determine whether the
                  ooexceptional                                justiff invocation of the abstention                    doctrine,
 8   necessary                      circumstances" exist to

 9   courts consider the following factors: (1) whether either court has assumed jurisdiction over

l0   a res, (2) the relative convenience of the forums, (3) the desirability of avoiding piecemeal

ll   litigation, (4) the order in which the forums obtained jurisdiction, (5) what law controls, and

t2   (6) whether the foreign proceeding is adequate to protect the parties' rights.48 CAREstream

l3   has failed to establish that the circumstances of this case warrant abstention. To the contrary,

t4   a proper analysis      of the relevant factors favors denial of abstention in this case.

15                                a.       Factor  I - jurisdiction over q res    -   does not   favor
                                           abstention.
r6
              The first factor for a court to consider when deciding whether to exercise its
l7
     discretion to stay a case under the international abstention exception is "whether either court
l8
     has assumed jurisdiction over a res." As CAREstream admits, the Canada court has not
l9
     assumed jurisdiction over a          res.lf any court were able to obtain jurisdiction over a relevant
20
     res, it would be this Court since the parties agreed in their forum selection clause that they
2l
22   as
        Colorado River Water Conservation Dist. v. United States,424U.S.800, 813 (1976); see
23   also Neuchatel Swiss Gen. Ins. Co. v. Lufthansa Airlines,925 F.zd 1193, 1194 (9th Cir.
     leel).
24   a6
          Moses H. Cone Mem'l Hosp, v. Mercury Constr. Corp.,460 U.S. 1, 14 (1983).
25   a7
          Colorado River,424U.S. at 816.
26
     a8
          See Nakash v.     Marciano,882F.2d        l4ll,   I4l5 (9th Cir.   19S9).
                                                                                        SCHWABE, WILLIAMSON & WYATT, P.C.
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                                   Attornevs at Law
                                                                                             1420 Sth Aveñue, Suite 3400
     IN OPPOSITION TO DEFENDANT'S MOTION CASE                                                  Soattle, WA 981014010
                                                                                              Tèlsphons: 206'.622.17
     NO.2:16-CV-00280 - 11
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 I   "submit to the jurisdiction of the state and federal courts located in Seattle, Washington,
 2   USA."4e Accordingly, the first factor in the analysis does not favor abstention.

 J                                 b.        Factor 2 - the relative convenience of the þrums          -
                                             does not favor abstention.
 4
               CAREstream has failed to demonstrate that              it would be more convenient to litigate
 5
     this case in British Columbia than in this Court as the parties agreed in their forum selection
 6
     clause. CAREstream cannot even establish that either forum would be equally convenient to
 7
     one party versus the other which would, of course, be insufficient to compel application                         of
 8
     the intemational abstention exception.s0 This Court is the more appropriate and convenient
 9
     forum, and that with subpoena power over the necessary witnesses.
10
               CAREstream argues that "[n]one of its anticipated witnesses reside in Washington."5l
1t
     But CAREstream has not shown, and cannot show, that any of the parties' anticipated
T2
     witnesses reside in British Columbia either. Nor has CAREstream shown that any anticipated
13
     witnesses are subject to compulsory process in British Columbia.52 CAREstream's President
t4
     and CEO, Dr.        Al   Sperry, resides in Florida.s3 Verathon's Vice President of Global Sales &
15
     Commercial Operations, Andrew Olen, resides in Wisconsin.sa Both these key witnesses
t6                                                                                                                    -
     the only two witnesses who have to date filed a declaration in this action                        reside in the
t7                                                                                                 -
     United States (not Canada) and are within the subpoena power of United States federal courts
l8
     (not of Canada).ss
t9
20
     ae
2l        Sperry Decl. Exhibit A at $10.4.
     t0
22        Ste Nakash,882F.2d at            l4l5   n.6 (equally convenient forums are irrelevant).
     tl CAREstream's Motion             at 8:10-11 (citing Sperr)' Decl. flfl 2-3).
23
               s2
                    See Coblin Decl. J[!f    5-6.
24   53
          Declaration of Farron Curry ("Curry Decl.") tf 3 and Exhibits A and B.
25   to
          Curry Decl. fl 2.
               55
26                  See Coblin Decl. flfl    5-6.
                                                                                      SCHWABE, WILLIAMSON & WYATT, P,C.
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                                 Attorneys at Law
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                                                                                            Telephonor 206.622.17 1 1
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 I             Moreover, while CAREstream argues that other third-party witnesses might be
 2   beyond the subpoena power of this Court, CAREstream provides no evidence or explanation

 J   to support that contention. CAREstream has failed to identiff a single actual witness who
 4   would be subject to subpoena power in the British Columbia court, but not in this Court.
 5   CAREstream also fails           to explain why the parties would     refuse     to act cooperatively in
 6   discovery to make their respective material witnesses available in this forum. Presumably,

 7   witnesses not adverse, but favorable           to one side or the other, would anange to testify
 8   wherever the case is tried.

 9             The fact that CAREstream might now prefer this action to take place in Canada for its

t0   convenience (contrary to the forum selection clause         it signed) is not   reason for this Court to

11   abstain from hearing this case in deference to a Canadian court.

I2                                c.      Factor 3 - avoiding piecemeal or duplicative litigation
13
                                          - does notfavor øbstention.
               Proceeding      in   Canada would not avoid piecemeal        or duplicative litigation. As
T4
     discussed above, this action and British Columbia Action I are not parallel. There are several
l5
     claims in this action that are not asserted or at issue in British Columbia Action                    I   and,
t6
     therefore,   will   need to be resolved herein regardless of whether or not British Columbia
l7
     Action I proceeds.
18
               In addition, it is unlikely that British Columbia Action I will even proceed to the
t9
     merits of CAREstream's claim for commission payments asserted therein. As stated above,
20
     the parties have agreed to a stay of British Columbia Action            I for the time being.t6 And,
2l
     Verathon has filed a Jurisdictional Response in British Columbia Action                I contesting that
22
     court's jurisdiction over it.57 Verathon never signed a forum selection clause submitting to
23

24

25   56
          Coblitt Decl. fl 3 and Exhibits B and C.
26
     t' Id.n2 andExhibit A.
                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
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     NO. 2:16-CV-00280 - 13
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 1   the jurisdiction of the British Columbia courts.     If the British Columbia court enforces              the

 2   parties' jurisdictional clause in the Agreement, British Columbia Action I will be dismissed.
 a
 J   The agreed stay in British Columbia Action      I for now defers that certainty of dismissal of
 4   British Columbia Action I for lack ofjurisdiction.

 5            Furthermore, CAREstream's assertions that the British Columbia court is "uniquely

 6   suited   to   address" the relevant issues and   will   need   to   determine "whether the Non-

 7   Competition clause is unenforceable under Canadian law" ate incorrect and again ignore the

 I   parties' mandatory choice of law clause. Canadian law          will nevet be at issue applied             to

 9   determine whether CAREstream's conduct violates the Agreement govemed by Washington

l0   law. Notably, CAREstream cites no authority for its unsupported assertions that Canadian

1l   law will govem anything in British Columbia Action I. It will not. The parties agreed that the

t2   Agreement, including its Non-Competition clause,        "will be governed by,       and interpreted in

13   accordance with the laws of the State of Washington and the United States of America," not

t4   under Canadian 1aw.58

15            CAREstream's accusation that Verathon has attempted to "forum shop" is not true

t6   and is simply another misrepresentation. Verathon filed an Application seeking an interim

l7   injunction against CAREstream in the Supreme Court of British Columbia pendine the
l8   outcome       of this case, simply so that CAREstream could not attempt to circumvent this
t9   Court's orders by arguing that they do not apply to it in Canada.se

20            CAREstream has not established that a stay of this action in abstention to a decision

2l   in British Columbia Action I would prevent piecemeal litigation. This factor does not support

22   granting a stay. If anything, it supports denial of the requested stay.

23

24

25   t8
          Spetry Decl. Exhibit A at $10.4 (emphasis added).
     5e
26     Coblin Decl. flfl 8-lo.
                                                                               SCHWABE, WILLIAMSON & WYAfi, P.C.
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                          Attorneys at Law
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                                                                                     Tslôphone: 206.622.17 1 1
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 I                                 d.         Factor 4 - the order in which the þrums obtained
                                              jurisdiction- does not favor abstention.
 2
                                                              oonot
               CAREstream argues that this factor is                  pertinent" because this action and British
 J
     Columbia Action          I "were filed     on the same duy."uo In other words, CAREstream concedes
 4
     that this factor does not weigh in favor of abstention.
 5
               Even more than that, an accurate analysis of this factor actually weighs against this
 6
     Court abstaining in favor of the British Columbia court. This Court has obtained jurisdiction
 7
     over the parties and subject matter of the dispute. Both parties explicitly agreed in the
 8
     Agreement that they "submit to the jurisdiction of the state and federal courts located in
 9
     Seattle, Washington, USA."6I CAREstream has never contested jurisdiction in this matter.
10
     Indeed, CAREstream removed this case to this Court, arguing in its Notice of Removal that
l1
     "this Court has original jurisdiction over this              case."62    lf   CAREstream was contesting
l2
     jurisdiction, the proper response to the filing of this case in King County Superior Court
l3
     would have been a motion for lack of jurisdiction under Washington Civil Rule l2(b), not
t4
     removal to this Court which CAREstream admits has "original jurisdiction over this case."
t5
               The same is not true in in British Columbia Action I. The British Columbia court has
t6
     not obtained jurisdiction over Verathon in British Columbia Action I. To the contrary,
t7
     Verathon has filed a Jurisdictional Response in British Columbia Action                      I contesting that
18
     court's jurisdiction over it.63 Accordingly, this factor does not support granting a stay.                           If
I9
     anything, it supports denial of the requested stay.
20

2l
22

23
     60
          CAREstream's Motion at 8:25--2.6.
24   6t
          Speny Decl. Exhibit A at $10.4.
25   6'Dkt    #1.
     63
26        Coblin Decl. fl 2 and.Exhibit A.
                                                                                      SCHWABE, WITLIAMSON & WYATT, P.C.
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     NO.2:16-CV-00280 - l5                                                                  Telephone: 2æ.622.'17 1 1


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 1                                   e.      Factor 5 - what løw controls   -   does not   favor
                                             abstention.
 2
                 Washington and United States law controls the claims between Verathon and
 a
 J
     CAREstream, pursuant               to their mandatory choice of law provision in the Agreement.6a
 4
     CAREstream's argument otherwise is incorrect and wholly unsupported by any on point
 5
     authority. Specifically, CAREstream's reliance on Grammar, Inc. v. Custom Foqm Sys. Ltd.,
 6
     482 F. Supp. 2d 853 (E.D. Mich. 2007) is misplaced. In that case, the court decided that
 7
     ooeither
                 Canadian law or the law of one of the states       will be applied" to the parties' contract
 I
     dispute because there was a factual dispute over whether their choice of law clause applied to
 9
     the contract at issue.6s Here, there is no such factual dispute. The parties agree (and could not
l0
     possibly dispute) that the Agreement, including its Non-Competition clause, is governed by
1t   o'the
             laws of the State of Washington and the United States of America."66 Grammar is not
T2
     on point. CAREstream's argument is unsupported. Washington and United States law
l3
     controls the claims between Verathon and CAREstream. This factor does not support
l4
     abstention in favor of the British Columbia court.
15

t6
                                    f        Thefinal foctor - whether the þreign proceeding is
                                             adequate to protect the parties'rights - does notfavor
                                             abstention.
t7
                British Columbia Action I is not adequate to protect the parties' rights. For starters,                   as
l8
     discussed above, British Columbia Action I is not parallel to this action, including because                         it
t9
     does not include Verathon's claims for (1) Injunctive relief; (2) Breach                      of contract;      (3)
20
     Replevin/foreclosure; (4) Violation of the Uniform Trade Secrets Act; (5) Conversion; or (6)
2l
     Tortious Interference, and therefore, will not resolve all of the claims and issues in this action
22

23

24   6a
          Sperry Decl. Exhibit A at $10.4.
25   6s
          Id. atB5g.
     66
26     Speoy Decl. Exhibit A at 910.4 (emphasis added).
                                                                                      SCHWABE, WILLIAMSON & WYATT, P.C,
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                                 Altorneys at Law
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 I   that Verathon has a right to have adjudicated by this Court.67 Nor could British Columbia

 2   Action    I include all of Verathon's claims.          For example, Canada does not have a cause of
 J   action analogous to Verathon's pending claim for a violation of the Uniform Trade Secrets

 4   Act. Canada has no Trade Secrets Act.

 5             In addition, CAREstream cannot credibly dispute that if the parties were to proceed
 6   solely in British Columbia Action I, the British Columbia court would have to analyze the

 7   Agreement and the causes of action under Washington and United States law as agreed in the

 I   choice of law provision.

 9             To ask a V/ashington court to abstain and instead allow a foreign court to conduct
t0   such analysis is inappropriate and neither supported by authority or by common sense. This

l1   Court, the decision maker with experience analyzing and adjudicating claims under
12   Washington and United States federal law, is the court that would adequately protect the

l3   parties' rights at issue in this case.

l4             Finally, and importantly, British Columbia Action           I   would not adequately protect

l5   Verathon's rights under the Non-Competition clause because                  it   would be impossible to

t6   obtain a ruling enforcing the Non-Competition clause from that court before the expiration of

l7   the Non-Competition clause on December 31, 2016.68 No judge has been assigned to British

18   Columbia Action I, no discovery has been initiated, and no hearing or trial dates have been

t9   set.6e   It will likely take at least a year from now for British Columbia Action I to make it to
20   trial.1o By that time, the Non-Competition clause            will have expired      and Verathon's claims

2l   seeking injunctive relief to enforce         it will   be moot. That type of delay is precisely what

22

23
     67
          See Complaint      (Dkt #l).
24   68
          coblin Decl. fl 4.
     6n
25      M.n2.
     7o
26      M.n4.
                                                                                      SCHWABE, WILLIAMSON & WIATT, P,C,
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                                 Attorneys at Law
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 I   CAREstream was looking for when                   it   brought the instant motion. This Court should not

 2   condone CAREstream's gamesmanship or its intellectually dishonest attempts to run out the

 J   clock on the Non-Competition clause in lieu of abiding by its terms. British Columbia Action

 4   I is not adequate to protect the parties' rights and this Court should not abstain in deference
 5   to that foreign proceeding.

 6            Quite incredibly, CAREstream argues that "federal district courts routinely stay the
 7   proceedings pending the outcome of the foreign proceeding."Tl That is simply not true. As

 8   discussed above, that is the opposite of what all of the relevant case law                       including the
                                                                                                 -
 9   cases cited    by CAREstream in support of that false proposition                  truly instruct. "Absent
                                                                                    -
10   'exceptional circumstances,' federal courts have an obligation to exercise their jurisdiction

11   concurrently with other courts."72 CAREstream has failed to demonstrate that sufficiently

t2   exceptional circumstances exist             for this Court to invoke the seldom used doctrine of
t3   international abstention. Accordingly, CAREstream's motion should be denied.

t4            C.        CAREstream fails to satisfv the                      of forum non conveniens.

15            CAREstream makes a second back stop argument that                  if this Court   does not stay the

r6   case,   it should dismiss the case onthe basis of forum non conveniens,That                     argument fails

t7   and the request should be denied. As discussed above, the doctrine of forum non conveniens

18   is inapplicable in this case in light of the parties' forum selection clause. "If the parties have

t9   selected laws mandating a particular venue, the law chosen dictates the forum and the

20   doctrine   of forun non        conveniens       ís inapplicable."T3 That is precisely the case here. The
2t
22   7t
                                            lI:6-9
          CAREstteam's Motion at                     (emphasis added).
     72
23        Neuchqtel Swiss Gen. Ins. Co.,925F.2dat 1194 (citingColorado River).
     73
24      Magellan Real Estate Inv. Tr. v, Losch, 109 F. Supp. 2d 1144, 1149 (D. Ariz. 2000)
     (emphasis added) (denying motion to dismiss on grounds of forum non conveniens). See
25   also Lavera Skin Care N, Am., Inc. v, Laverana GmbH & Co. KG, No. 2:13-cv'0231I-RSM,
     2014 U.S. Dist. LEXIS 176327, at *ll (W.D. Wash. Dec. 19, 2014) (holding that "a valid
26   forum-selection clause should be given controlling weight in all but the most exceplional
                                                                                     SCHWABE'I.b!I*YSIÌ."I*O","
     PLAINTIFFVERATHONMEDICAL,INC.'SRESPONSE
     IN OPPOSITION TO DEFENDANT'S MOTION                              CASE                't'3"?$,i,ii?,åT'5"í"'
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 I   parties agreed'oto submitto the jurisdiction of the state and federal courts located in Seattle,

 2   Washington, USA."7a Therefore,         to argue that this forum is so inconvenient to require
 3   dismissal is absurd. The doctrine of forum non conveniens ís inapplicable.

 4             In addition, even if forum non conveniens were applicable in this case (which it                is

 5   not), CAREstream has failed to make the showing necessary for the Court to dismiss this
 6   case under that doctrine. Like the international abstention doctrine, forum non conveniens is

 7   an exceptional tool to be utilized sparingly; "courts have been reluctant to apply the doctrine

 8   of forum non conveniens    if   its application would force an American citizen to seek redress in

 9   a foreign court."75 There is no contention that Verathon is anything but a citizen of
l0   Washington state.76

l1             As CAREstream admits, in order to establish the right to dismissal under forum non

l2   conveniens, CAREstream \ryas required to make a "clear showing that either:                  (l)   establish

13   [sic] such oppression and vexation of a defendant      as to be out   of proportion to the plaintiffs

t4   convenience, which may be shown to be slight or nonexistent, or (2) make trial in the chosen

15   forum inappropriate because of considerations affecting the court's own administrative and

t6   legal problems."77 CAREstream has failed to come anywhere close to making such                            a

t7   showing, Notably, CAREstream is the defendant in this case because CAREstream chose this

18   forum bv removins       ls case to this Court. Therefore, CAREstream cannot possibly argue

t9   that this case involves 'ooppression and vexation of a defendant (CAREstream) . . . out of

20   proportion to the plaintiff s (Verathon) convenience."

2l
     cases.") (citing Atlqntic Marine Const. Co. v, U,S, Dist. Court,134 S.Ct. 568,579 (2013).
22
     ta
        Sp"oy Decl. Exhibit A at $10,4.
23   7s
       Putr,2010 U.S. Disr. LEXIS l294ll at*33 (V/.D.Wash. Dec.7,2010) (citing Paper
24   Operations Consultants Int'\, Ltd. v. SS Hong Kong Amber,513 F.2d 667,672 19th Cir.
     reTs)).
25   76
          SeeNotice of Removal (Dkt #1).
26   7t
       CAREstteam's Motion 12:25-13 :3,
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                               SCHWABE'


     IN OPPOSITION TO DEFENDANT'S MOTION                    CASE                    '11'"fl!,i,äi?,"T'5'Î,1"
                                                                                     r'r'phonê:2066221711
     NO. 2:16-CV-00280 - 19
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 I               In addition, neither private nor public interest factors favor dismissal of this case. For

 2   all the reasons discussed above, CAREstream has failed to establish that this Court is                        an

 J   inappropriate forum for this action. And CAREstream has also failed to demonstrate any

 4   valid administrative or public policy problems with this Court deciding this                              case.

 5   Accordingly, CAREstream's motion to dismiss for forum non conveniens should be denied.

 6              D.                                should         CAREstream to reimburse Verathon
 7                                                  ts baseless motion.

 8              CAREstream's motion is a flagrant attempt to delay this case. Throughout its motion,

 9   CAREstream (1) ignores the parties' forum selection and choice of law provisions in the

l0   Agreement and (2) mischaracterizes legal authority that does not stand for the proposition for

11   which it is advanced. The motion was frivolous. It was submitted to cause delay, and it did
t2   cause a delay prejudicial to Verathon. Upon CAREstream's                      filing of the instant motion,   the

13   Court struck the scheduled Status Conference, resulting in an at least three-week delay of

l4   Verathon's ability to appear before this Court and ask for an expedited trial date on at least

15   its claim for injunction.

l6              Federal Rule of Civil Procedure 1l(b) requires             (l)   that any motion submitted to this

l7   Court not be "presented for any improper pu{pose, such as to harass, cause unnecessary

l8   delay, or needlessly increase the cost of litigation" and (2) that the legal contentions asserted

l9   in the motion         ooare
                                   warranted by existing law or by a nonfrivolous argument for extending,

20   modifuing, or reversing existing law or for establishing new law." When any aspect of Rule

2t   1l(b) has been violated, "the court may impose an appropriate sanction on any attorney, law
22   firm, or party that violated the rule or is responsible for the violation," including by entering
23   an order directing payment of the reasonable attorney's fees and expenses resulting from the

24   violation.Ts While Rule 11(c)(2) requires a party to bring a separate motion for sanctions

25

26   78
       Fed. R. Civ. Pro l1(c). See also National Computer, Ltd. v Tower Industries, Inc. 708 F
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE SCHWABE, i.i:!iåY.'iIS*ATT' P C
     IN oPPoSITIoN To DEFENDANT'S MorIoN                                  CASE
                                                                        't1'"',1:,i,ii?,lT'5'11"
     NO. 2:16_CV_00280 _ 20                                               rersphone: 206.62217',t'l

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 1    rather than joining the request in a response (which Verathon reserves the right to do), the
 ,>
      Court may also'oorder an attorney, law frrm, or party to show cause why conduct specifically

 J    described in the order has not violated Rule 1l(b)."

 4            Verathon submits that, under these circumstances, the frivolity                  of CAREstream's
 5    motion and the apparent tactics behind                it   warrant the entry by this Court          of an Order
 6    commanding CAREstream and/or its attomey to show cause why submission of the instant

 7    motion did not violate Rule             ll(b)   and warrant reimbursement by CAREstream to Verathon

 8    for the fees Verathon expended to respond to said motion.

 9                                             IV.      CONCLUSION
10            Based on the foregoing, Verathon respectfully requests that the Court deny the

tl    motion, order CAREstream to show cause why submission of the instant motion did not

t2    violate Rule 11(b) and warrant requiring CAREstream to reimburse Verathon for the fees it

13    expended    to respond to said motion, and                 schedule   a Status Conference for the earliest
t4    possible date so the parties can obtain a determination on the merits.

l5
t6            Dated this 25th day of April,2016.

l7                                                               SCHWABE, WILIAMSON & WYATT, P.C.
18
                                                                 By:
t9                                                                     Joseph J. Straus WSBA          1

                                                                       Email:                        com
20                                                                     Farron             A#40559
                                                                       Email: fcuny@schwabe.com
2l                                                                     Attorneys þr Plaintiff, Verathon
                                                                       Medical, Inc.
22

23

24

25
      Supp 281 (N.D. Cal 1989). (the court awarded $1,500 in punitive sanctions against a
      California corporations'attorneys under Rule 11, where those attorneys filed a frivolous
26    motion to dismiss for lack of venue).
                                                                                       ScHWABEI[\l!låy,'1Tå**o"
      PLAINTIFFVERATHONMEDICAL, INC.'SRESPONSE                                                                      "'
      IN OPPOSITION TO DEFENDANT'S MOTION CASE                                             "33"'l[,1äi?,rii5'Î,1"
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 I                                          CERTIX'ICATE OF SERVICE
 2             The undersigned declares under penalty of perjury, under the laws of the State of

 J   Washington, that the following is true and correct:

 4
               That on the 25ú day           of April,   2016,   I   arranged   for   service    of the foregoing
 5
     PLAINTIFF VERATHON MEDICAL, INC.'S RESPONSE                                       IN     OPPOSITION TO
 6
     DEFENDANT'S MOTION TO STAY OR DISMISS ON THE GROI.IND OF FORUM
 7
     NON CONVENIENS to the parties to this action via the Court's CN,{/ECF system as follows:
 8
               Scott V/ilsdon
 9             John H. Jamnback
               Yarmuth Wilsdon Calfo PLLC
10             818 Stewart Street, Suite 1400
               Seattle, wA 98101-331I
l1             E-Mail:       wilsdon@.yarmuth.com
                             jj amnback@yarmuth. com
t2
13

t4                                                                   Bratton

l5
t6
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l8
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20

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23

24

25

26

     CERTIFICATE OF SERVICE -                 1
                                                                                      SCHWABE, WLLIAMSON & VVYATT, P,C,
                                                                                                 Atlornsys at Law
                                                                                                 U.S. Bank Centre
                                                                                           1420 sth Avênus, Suite 3400
                                                                                             Seattle, WA 981014010
                                                                                            1 eløphone 2066.22-'1 7 1 1

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